Defendant, with two others, Jack Clark and Jack Morrell, was charged with the crime of burglary. Upon trial therefor, separate from his codefendants, he was convicted, and this appeal is prosecuted from the judgment of imprisonment imposed.
An examination of the record shows the facts of the case to be substantially the same as those presented in the case ofPeople v. Morrell, (Crim. No. 424), ante, p. 729, [153 P. 977], an opinion in which was this day filed, holding the alleged errors disclosed by the record to be without merit and affirming the judgment.
The reasons there assigned for the decision sustaining the rulings of the trial court are equally potent here, and upon the authority of the opinion in that case, the judgment and the order denying defendant's motion for a new trial are affirmed. *Page 806 